91 F.3d 153w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Shirley McCLURE;  Jason McClure, Plaintiffs-Appellees,v.CITY OF LONG BEACH, Defendant,andJeffrey Kellogg;  Raymond Grabinski;  Eugene J. Zeller;Clifford Ashton;  William Gatoff;  MartinDeangelo;  Harold Liddicoat;  MarkSutton, Defendants-Appellants.
    No. 94-56772.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Nov. 16, 1995.Decided June 28, 1996.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    